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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  ROBERT L. CLARK,

                         Petitioner,

  v.                                                    Civil Action No. 5:05CV147
                                                        Criminal Action No. 5:04CR9-09
  UNITED STATES OF AMERICA,                             (JUDGE STAMP)

                         Respondent.

                    REPORT AND RECOMMENDATION
      THAT §2255 MOTION BE DENIED AS TO TWO GROUNDS, SETTING AN
   EVIDENTIARY HEARING ON GROUND ONE, APPOINTING COUNSEL FOR THE
    EVIDENTIARY HEARING AND PROVIDING THAT COUNSEL, PARTIES AND
  WITNESSES MORE THAN 40 MILES FROM THE WHEELING POINT OF HOLDING
       COURT MAY APPEAR BY VIDEO OR TELEPHONE CONFERENCING



                                        I. INTRODUCTION

         On September 8, 2005, pro se petitioner filed a Motion Under 28 U.S.C. § 2255 to

  Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. The Government filed its

  response January 12, 2006.

                                              II. FACTS

  A.     Conviction and Sentence

         On June 15, 2004, Petitioner signed a plea agreement by which he agreed to plead guilty

  to Count 32, aiding and abetting the possession with intent to distribute in excess of 500 grams of

  cocaine in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B) and Title

  18, United States Code, Section 2. In the plea agreement, the parties stipulated to total drug

  relevant conduct of between two (2) kilograms and three and one-half (3.5) kilograms of cocaine.

  The parties further agreed to a two (2) level enhancement pursuant to U.S.S.G. § 2D1.1(b)(1) for

  possession of a firearm. Additionally, the petitioner waived his right to appeal and to collaterally
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  attack his sentence. Specifically, the petitioner’s plea agreement contained the following

  language regarding his waiver:

                  11.      Mr. Clark is aware that Title 18, United States Code,
                  Section 3742 affords a defendant the right to appeal the sentence
                  imposed. Acknowledging all this, and in exchange for the
                  concessions made by the United States in this plea agreement, if
                  the Court finds that the applicable guideline is 30 or less then the
                  defendant knowingly and voluntarily waives the right to appeal
                  any sentence or the manner in which that sentence was determined
                  on any ground whatever, including those grounds set forth in Title
                  18, United States Code, Section 3742. The defendant also waives
                  his right to challenge his sentence or the manner in which it was
                  determined in any collateral attack, including but not limited to, a
                  motion brought under Title 28, United States Code, Section 2255
                  (habeas corpus), where the sentence is based upon a level 30 or
                  less. If the Court departs upward or downward from the guideline
                  range, the party opposing the departure has the right to appeal the
                  departure. Otherwise than stated herein, in exchange for the
                  defendant’s waiver, the United States waives its right to appeal. In
                  the event that there would be an appeal, each party reserves the
                  right to argue in support of the sentence.

        On June 24, 2004, the petitioner entered his plea in open court. Petitioner was 35 years old

  and a high school graduate. (Plea transcript p. 4) Petitioner stated he understood and agreed with

  all the terms and conditions of the plea agreement. (Id. at 11) The Court specifically asked if

  petitioner understood the waiver of appellate and post-conviction relief rights. (Id. at 12) The

  Court asked petitioner’s counsel if he believed petitioner understood the waiver of appellate and

  post-conviction relief rights. (Id. at 12-13) The Court then reviewed all the rights petitioner was

  giving up by pleading guilty. (Id. at 13-20) During the plea hearing, the Government presented

  the testimony of Special Agent Robert L. Manchas of the United States Drug Enforcement

  Agency to establish a factual basis for the plea. (Id. at 20-24). The petitioner did not contest the

  factual basis of the plea.




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       After the Government presented the factual basis of the plea, the petitioner advised the

  Court that he was guilty of Count 32 of the indictment. The petitioner further stated under oath

  that no one had attempted to force him to plead guilty, and that he was pleading guilty of his own

  free will. (Id. at 24) In addition, he testified that the plea was not the result of any promises other

  than those contained in the plea agreement. (Id. at 24-25) The petitioner testified that his attorney

  had adequately represented him, and that his attorney had left nothing undone. (Id. at 25) Finally,

  petitioner said he was in fact guilty of the crime to which he was pleading guilty. (Id. at 26)

       At the conclusion of the hearing, the Court determined that the plea was made freely and

  voluntarily, that the petitioner understood the consequences of pleading guilty; and that the

  elements of Count 32 were established beyond a reasonable doubt. (Id. at 26) The petitioner did

  not object to the Court’s finding.

         On September 13, 2004, the petitioner appeared before the Court for sentencing. After

  considering several factors, including the circumstances of both the crime and the defendant, and

  the sentencing objectives of punishment, the Court sentenced the petitioner to a term of 70

  months imprisonment.

  B.     Appeal

         Petitioner did not file an appeal of his conviction or sentence.

  C.     Federal Habeas Corpus

         On September 8, 2005, petitioner initiated this case under § 2255. In the petition, and the

  brief in support, petitioner asserts the following grounds for relief:

         (1) counsel was ineffective for failing to appeal petitioner’s amended sentence;

         (2) counsel was ineffective for not objecting to the unconstitutional 2 point enhancement

             for the gun; and




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         (3) counsel was ineffective for not objecting to the mandatory enhancements that per

             Apprendi/Blakely were arguably unconstitutional.

         In its response to the motion, the respondent asserts that petitioner’s § 2255 motion

  should be denied because:

         (1) the defendant was satisfied with the representations of his counsel according to the

             plea hearing;

         (2) the defendant provided no indication that an appeal was requested on his behalf;

         (3) the defendant provided no claim contained within the § 2255 motion that would have

             permitted an appeal to be filed on his behalf;

         (4) the defendant knowingly and voluntarily entered into a plea agreement which

             included a 2 level enhancement for the possession of a firearm;

         (5) the defendant knowingly and voluntarily waived his appellate rights, absent an

             upward departure, therefore he cannot collaterally attack his sentence; and

         (6) neither Booker or Blakely provide relief to the defendant, nor do wither of the

             decisions apply retroactively to this case.

  D.     Recommendation

         Based upon a review of the record, the undersigned recommends that the petitioner’s §

  2255 motion be denied and dismissed from the docket because petitioner knowingly,

  intelligently, and voluntarily waived the right to collaterally attack the sentence with the

  exception of an evidentiary hearing to determine whether petitioner requested his attorney to file

  an appeal and whether counsel ignored or refused instructions.

                                            III. ANALYSIS




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  A.     Waiver

         “[T]he guilty plea and the often concomitant plea bargain are important components of

  this country’s criminal justice system. Properly administered, they can benefit all concerned.”

  Blackledge v. Allison, 431 U.S. 63, 71 (1977). However, the advantages of plea bargains “can be

  secure . . . only if dispositions by guilty plea are accorded a great measure of finality.” Id. “To

  this end, the Government often secures waivers of appellate rights from criminal defendants as

  part of their plea agreement.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

         In United States v. Attar, 38 F.3d 727 (4th Cir. 1994), the Fourth Circuit found that “a

  waiver-of-appeal-rights provision in a valid plea agreement is enforceable against the defendant

  so long as it is the result of a knowing and intelligent decision to forgo the right to appeal.” Attar

  at 731. The Fourth Circuit then found that whether a waiver is knowing and intelligent “depends

  upon the particular facts and circumstances surrounding [its making], including the background,

  experience, and conduct of the accused.” Id. After upholding the general validity of a waiver-of-

  appeal-rights provision, the Fourth Circuit noted that even with a waiver-of-appeals-rights

  provision, a defendant may obtain appellate review of certain limited grounds. Id. at 732. For

  example, the Court noted that a defendant “could not be said to have waived his right to appellate

  review of a sentence imposed in excess of the maximum penalty provided by statute or based on

  a constitutionally impermissible factor such as race.” Id. Nor did the Court believe that a

  defendant “can fairly be said to have waived his right to appeal his sentence on the ground that

  the proceedings following the entry of the guilty plea were conducted in violation of the Sixth

  Amendment right to counsel.” Id.

         Subsequently, in United States v. Lemaster, supra, the Fourth Circuit saw no reason to

  distinguish between waivers of direct appeal rights and waivers of collateral attack rights.




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  Lemaster, 403 F.3d at 220. Therefore, like waiver-of-appeal-rights provision, the Court found

  that the waiver of the right to collaterally attack a sentence is valid as long as it is knowing and

  voluntary. Id. And, although, the Court expressly declined to address whether the same

  exceptions apply since Lemaster failed to make such an argument, the court stressed that it “saw

  no reason to distinguish between waivers of direct-appeal rights and waivers of collateral-attack

  rights.” Id. at n. 2.

          Based on these cases, it appears that ineffective assistance of counsel claims are barred

  by a valid waiver, to the extent that the facts giving rise to the claims occurred prior to the

  defendant entering his guilty plea. Only claims arising after the entry of the guilty plea may fall

  outside the scope of the waiver. Lemaster, 403 F.3d at 732 (it cannot be fairly said that a

  defendant “waived his right to appeal his sentence on the ground that the proceedings following

  entry of the guilty plea were conducted in violation of the Sixth Amendment right to counsel, for

  a defendant’s agreement to waive appellate review of his sentence is implicitly conditioned on

  the assumption that the proceedings following entry of the plea will be conducted in accordance

  with constitutional limitations.”)

          Therefore, when reviewing an ineffective assistance of counsel claim in a case where

  there is a waiver of collateral-attack rights in a plea agreement, we must first determine whether

  there is valid waiver. In doing so,

                   The validity of an appeal waiver depends on whether the defendant
                   knowingly and intelligently agreed to waive the right to appeal.
                   Although this determination is often made based on adequacy of
                   the plea colloquy -- specifically, whether the district court
                   questioned the defendant about the appeal waiver – the issue
                   ultimately is evaluated by reference to the totality of the
                   circumstances. Thus, the determination must depend, in each case,
                   upon the particular facts and circumstances surrounding that case,
                   including the background, experience, and conduct of the accused.




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  United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (internal citations and quotations

  omitted).

  In other words, the Court must examine the actual waiver provision, the plea agreement as a

  whole, the plea colloquy, and the defendant’s ability to understand the proceedings. Id. If the

  Court finds that the waiver is valid, any IAC claims arising prior to the plea agreement are barred

  by the waiver.

         As to any IAC claims made regarding an attorney’s action, or lack thereof, after the plea

  agreement, the Fourth Circuit has stated, “[w]e do not think the general waiver of the right to

  challenge” a sentence on the ground that “the proceedings following entry of the guilty plea –

  including both the sentencing hearing itself and the presentation of the motion to withdraw their

  pleas – were conducted in violation of their Sixth Amendment right to counsel.” Lemaster, 403

  F.3d at 732-33. Therefore, upon first blush it appears that IAC claims arising after the guilty plea

  and/or during sentencing, are not barred by a general waiver-of appeal rights.

         However, several courts have distinguished IAC claims raised in a § 2255 case, from

  those raised on direct appeal. In Braxton v. United States, 358 F.Supp.2d 497 (W.D Va. 2005),

  the Western District of Virginia noted that although the Fourth Circuit has yet to define the scope

  of waiver of collateral rights, several courts have held that § 2255 waivers should be subject to

  the same conditions and exceptions applicable to waivers of the right to file a direct appeal.

  Braxton at 502 (citing United States v. Cannady, 283 F.3d 641,645 n. 3 (4th Cir. 2000)

  (collecting cases); Butler v. United States, 173 F.Supp.2d 489, 493 (E.D. Va. 2001)).

  Nonetheless, the Western District of Virginia, distinguished the types of IAC claims available on

  direct appeal from those available in a § 2255 motion. Specifically, the Court noted:

                          Appellate courts rarely hear ineffective assistance of
                   counsel claims on direct review. Indeed, ‘[i]t is well settled that a



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                claim of ineffective assistance should be raised in a 28 U.S.C. §
                2255 motion in the district court rather than on direct appeal,
                unless the record conclusively shows ineffective assistance.’
                United States v. King, 119 F.3d 290, 295 (4th Cir. 1997).
                Therefore, the waiver exception recognized in Attar applies only to
                a very narrow category of cases. In contrast, a rule that defendants
                are unable to waive their right to bring an ineffective assistance
                claim in a § 2255 would create a large exception to the scope of §
                2255 waivers. In fact, such an exception would render all such
                waivers virtually meaningless because most habeas challenges can
                be pressed into the mold of a Sixth Amendment claim on collateral
                review. The Fifth Circuit has recognized this dynamic by noting
                that ‘[i]f all ineffective assistance of counsel claims were immune
                from waiver, any complaint about process could be brought in a
                collateral attack by merely challenging the attorney’s failure to
                achieve the desired result. A knowing and intelligent waiver should
                not be so easily evaded.’ United States v. White, 307 F.3d 336, 344
                (5th Cir. 2002).
  Braxton at 503.

          The Western District of Virginia further noted that the Tenth Circuit has also

  distinguished collateral-attack waivers from the situation in Attar and that the Fourth Circuit’s

  holding in United States v. Broughton-Jones, 71 F.3d 1143,1147 (4th Cir. 1995), also supports

  such distinction. Braxton at 503, n. 2. Finally, the Braxton Court found it persuasive that the

  majority of circuits to have confronted this question “have held that collateral attacks claiming

  ineffective assistance of counsel that do not call into question the validity of the plea or the §

  2255 waiver itself, or do not related directly to the plea agreement or the waiver, are waivable.”

  Id. at 503. (collecting cases).

          Accordingly, I recommend this petition be denied on all grounds except the allegation of

  failure to file notice of appeal hereinafter addressed.

  B.      Failure to File Notice of Appeal

          In ground one, petitioner asserts that counsel was ineffective for failing to file an appeal

  of his amended sentence. The Fourth Circuit Court of Appeals has held that “a criminal defense




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  attorney’s failure to file a notice of appeal when requested by his client deprives the defendant of

  his Sixth Amendment right to the assistance of counsel, notwithstanding that the lost appeal may

  not have had a reasonable probability of success.” United States v. Peak, 992 F.2d 39, 42 (4th

  Cir. 1993). In rendering this decision, the Court opined:

                    Persons convicted in federal district courts have a right to a direct
                    appeal. Coppedge v. United States, 369 U.S. 438, 82 S.Ct.917, 8
                    L.E.2d 21 (1962). In addition, the Sixth Amendment right to
                    counsel extends to the direct appeal, Douglas v. California, 372
                    U.S. 353, 83 S.Ct. 917, 8 L.Ed.2d 811 (1963), and it obligates the
                    attorney to file the appeal and identify possible issues for the court
                    even if, in the attorney’s opinion, those issues are not meritorious.
                    Anders v. California, 386 U.S.738, 87 S.Ct. 1396, 18 L.Ed.2d 493
                    (1967).
  Id. at 41.

          Further, in Roe v. Flores-Ortega, 528 U.S. 470 (2000), the United States Supreme Court

  recognized that “[i]f counsel has consulted with the defendant, the question of deficient

  performance is easily answered: Counsel performs in a professionally unreasonable manner only

  by failing to follow the defendant’s express instructions with respect to an appeal.” Flores-

  Ortega, at 478.

          In this case, petitioner asserts that he tried to appeal the errors made at his re-sentencing,

  but that counsel failed to respond to his requests. Therefore, petitioner asserts counsel was per se

  ineffective for failing to file a notice of appeal as instructed. Although the government did not

  specifically address this issue in its response to the petition, the government did generally assert

  that petitioner’s ineffective assistance of counsel claims were without merit because there is no

  evidence in the record to show that petitioner ever made such a request. However, the

  government was not privy to the confidential exchanges that took place between the petitioner

  and his attorney. Moreover, the government has failed to provide any information from the

  petitioner’s attorney regarding what instructions, if any, he received regarding an appeal.



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           Accordingly, because the petitioner’s motion and the Government’s response do not

   conclusively establish that petitioner is entitled to no relief, I find that an evidentiary hearing is

   necessary to determine whether petitioner requested his attorney file an appeal and whether

   counsel ignored or refused such instructions. See 28 U.S.C. § 2255 (providing in pertinent part

   that “[u]nless the motion and the files and records of the case conclusively show that the prisoner

   is entitled to no relief, the court shall cause notice thereof to be served upon the United States

   attorney, grant a prompt hearing thereon, determine the issues and make findings of fact and

   conclusions of law with respect thereto.”); see also United States v. Witherspoon, 231 F.3d 923

   (4th Cir. 2000).

           An evidentiary hearing, solely on the issue of whether petitioner instructed his counsel to

   file an appeal shall be held July 24, 2007, at 10:00 a.m. in the United States Magistrate Judge

   Courtroom, Room 433, 4th Floor, U.S. Courthouse, Wheeling, West Virginia.

           Petitioner shall appear by telephone from his place of incarceration. Any other party,

   counsel or witness who resides or whose principal office is more than 40 miles from the

   Wheeling point of court may appear by telephone.

           Brendan S. Leary, Esq. is appointed to represent petitioner at the evidentiary hearing

   solely for the purpose of determining whether petitioner instructed his counsel to file an appeal.

                                          IV. Recommendation

           Based upon a review of the record, the undersigned recommends that the petitioner’s §

   2255 motion be denied and dismissed from the docket because petitioner knowingly,

   intelligently, and voluntarily waived the right to collaterally attack the sentence with the

   exception of an evidentiary hearing to determine whether petitioner requested his attorney to file

   an appeal and whether counsel ignored or refused instructions.




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          Within ten (10) days after being served with a copy of this report and recommendation,

   any party may file with the Clerk of Court written objections identifying those portions of the

   recommendation to which objection is made and the basis for such objections. A copy of any

   objections shall also be submitted to the Honorable Frederick P. Stamp, Jr., United States District

   Judge. Failure to timely file objections to this recommendation will result in waiver of the right

   to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C. §

   636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985):

   United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

          The Clerk is directed to mail a copy of this Report and Recommendation to the

   pro se plaintiff and counsel of record, as applicable. The Clerk is also directed to mail a

   copy of the Report and Recommendation to Brendan S. Leary, Esq.

          DATED: June 12, 2007



                                                         __/s/ James E. Seibert_____________
                                                         JAMES E. SEIBERT
                                                         UNITED STATES MAGISTRATE JUDGE




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